USDC IN/ND case 2:15-cr-00072-PPS-APR          document 1265      filed 01/05/18    page 1 of 3


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA,                )
                                           )
                      Plaintiff,           )
                                           )
        v.                                 )      Cause No. 2:15CR72-PPS
                                           )
  JEREMIAH SHANE FARMER,                   )
                                           )
                      Defendant.           )

                                   OPINION AND ORDER

        Jeremiah Shane Farmer, who is proceeding in this case without a lawyer, has

  filed two motions that request the Court’s help in securing his constitutional rights: one

  motion titled “Entrie Respectfuly Requesting Chief Judge Help in Receiving Due

  Process Rights to the Courts” [DE 1067], and another titled “Affidavit for Truth And

  Belief. Entrie Askin Judge and AUSA Help in Exercising the U.S. Constitutional Right

  and Showing the Courts that Defendant Farmer U.S. Constitution and Due Process

  Rights to the Courts has bein Violated” [DE 1117].

        In the first motion [DE 1067], Farmer states that he has had his due process rights

  to the courts violated, “along with numerous other constitution [sic] violations by the

  Courts, public defenders and the Government.” Farmer then inexplicably states the

  title of a previous motion having to do with this Court’s alleged lack of federal criminal

  jurisdiction. I have already addressed Farmer’s Rule 12 motion and found his

  arguments on this point to be meritless. [DE 1255.] Farmer raises no new grounds for
USDC IN/ND case 2:15-cr-00072-PPS-APR           document 1265       filed 01/05/18    page 2 of 3


  the violation of his due process rights, and his request for “Chief Judge help in receiving

  due process rights to the Courts” is unintelligible.

         In the second motion [DE 1117], Farmer again asks for the Judge’s help in

  exercising his constitutional rights. In this motion, he is more specific, and he claims

  that his rights have been violated because: (1) the statute of limitations has run on the

  charges against him; (2) he has not received any of the evidence that will be used

  against him at trial; (3) the Court previously struck Farmer’s pro se motions filed when

  he was represented by counsel; (4) he has been denied the right to a fast and speedy

  trial; (5) there is no evidence that supports the charges against him; and (6) his previous

  counsel would not file motions that Farmer wished for him to file.

         Each of these arguments is meritless. First, the statute of limitations has not run

  because, although the conspiracy goes back as far as 2003, the government has alleged

  overt acts that occurred in the past five years, within the statute of limitations for both

  the racketeering and drug conspiracy. Second, as the Court has already held [see DE

  1241], the government has been ordered to turn over all Brady material and evidence

  that is required to be turned over. The government has assured the Court that it has

  done so, and those assurance are enough. See Strickler v. Greene, 527 U.S. 263, 283 n.23

  (1999). Third, Farmer is correct that the Court previously struck Farmer’s pro se

  motions filed when he was represented by counsel. That is the rule in this Circuit. In

  any event, the Court has granted some of Farmer’s requests to review the previously

  stricken motions [DE 1113], and he has since filed numerous additional motions.


                                                2
USDC IN/ND case 2:15-cr-00072-PPS-APR          document 1265       filed 01/05/18     page 3 of 3


  Fourth, for all of the reasons that I stated in my prior order [DE 1264], there have been

  no violations of Farmer’s right to a fast and speedy trial. Fifth, Farmer was indicted by

  a grand jury, and once the grand jury finds probable cause and issues an indictment,

  that “conclusively determines the existence of probable cause to believe that the

  defendant perpetrated the offense alleged.” Kaley v. United States, 134 S. Ct. 1090, 1097

  (2014). “A challenge to the reliability or competence of the evidence supporting a grand

  jury’s finding of probable cause will not be heard.” Id. (internal quotation marks

  omitted). Finally, Farmer’s previous counsel refused to file motions that Farmer

  wished for him to file, but there is no evidence that this was prejudicial. Farmer has

  since opted to represent himself in this matter and has had the opportunity to file all of

  those motions.

         ACCORDINGLY:

         Defendant Jeremiah Shane Farmer’s Entrie Respectfuly Requesting Chief Judge

  Help in Receiving Due Process Rights to the Courts [DE 1067] is DENIED.

         Farmer’s Affidavit for Truth and Belief [DE 1117] is DENIED.

         SO ORDERED.

         ENTERED: January 5, 2018


                                                   /s/ Philip P. Simon
                                                   PHILIP P. SIMON, JUDGE
                                                   UNITED STATES DISTRICT COURT




                                               3
